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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                           )
                                                   )
           v.                                      )     Criminal No. 18-292
                                                   )
ROBERT BOWERS                                      )


         REPLY TO GOVERNMENT’S RESPONSE (ECF 1075) TO
DEFENSE MOTION UNDER THE FIFTH, SIXTH, AND EIGHTH AMENDMENTS
FOR MATERIALS RELATED TO JURY SELECTION AND POTENTIAL CLAIMS
             UNDER BATSON V. KENTUCKY (ECF 1060)

       It is within this Court’s discretion to order the government and Clerk of Court to

produce the information the defense requests. And it is well within the government’s

discretion to produce the information, or a subset of the information, without any court

order. It refuses to do so and exaggerates the effort it would take to provide the information.

The defense seeks the historical information that state and federal courts, including the U.S.

Supreme Court, recognize as part and parcel of a well-formed challenge to a juror strike

under Batson v. Kentucky, 476 U.S. 79 (1986).

       The defense understanding is that its Motion under the Fifth, Sixth, and Eighth

Amendments for materials related to jury selection and potential claims under Batson does

not fall under the pretrial motions deadline set by the Court. The pretrial motions deadline

and the “good cause” standard for untimely pretrial motions concern motions filed under

Rule 12(b)(3) of the Federal Rules of Criminal Procedure, and this Motion is not covered by

Rule 12(b)(3). See Fed. R. Crim. P. 12(b)(3) and 12(c)(3). The defense moves the Court to




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order the government and Clerk of Court to produce the information the defense requests,

information that would help ensure due process of law.


                                 Respectfully submitted,

                                        /s/ Judy Clarke
                                        Judy Clarke
                                        Clarke Johnston Thorp & Rice, PC

                                        /s/ Michael N. Burt
                                        Michael N. Burt
                                        Law Office of Michael Burt, PC

                                        /s/ Michael J. Novara
                                        Michael J. Novara
                                        First Assistant Federal Public Defender

                                        /s/ Elisa A. Long
                                        Elisa A. Long
                                        Supervisory Assistant Federal Public Defender

                                        /s/ Ashwin Cattamanchi
                                        Ashwin Cattamanchi
                                        Assistant Federal Public Defender




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